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                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                         Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.




                                        NOTICE OF HEARING

             PLEASE TAKE NOTICE that on Friday, February 8, 2019, at 10:00 a.m., or as soon

     thereafter as counsel may be heard, Plaintiffs will present oral argument in support of their Motion

     to Compel (ECF No. 94).

                                                                    Respectfully Submitted,


Dated February 1, 2019                                              /s/ Scott A. Zebrak   /
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